      8:08-cr-00151-LSC-FG3        Doc # 13    Filed: 04/11/08   Page 1 of 1 - Page ID # 40




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                                                )                     Case No: 8:08MJ75
                  Plaintiff,                    )
           v.                                   )                           ORDER
                                                )
OSCAR COLMENARES GONZALEZ,                      )
                                                )
                  Defendant.

RE: MATERIAL WITNESS,
    NOE ALBERTO ESPINOZA-SOLIS

      The court has been presented a Financial Affidavit (CJA Form 23) signed by the
     above-named material witness in support of a request for appointed counsel. After a
     review of the Financial Affidavit, I find that the above-named material witness
     is eligible for appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C.
     §3006A, and Amended Criminal Justice Act Plan for the District of Nebraska.

       IT IS ORDERED that Brandie M. Fowler is appointed as attorney of record for the
     above-named material witness in this matter and shall forthwith file an appearance in
     this matter.

      IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall forthwith
     provide counsel with a draft appointment order (CJA Form 20) bearing the name and
     other identifying information of the CJA Panel attorney identified in accordance with the
     Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the
     Federal Public Defender for the District of Nebraska and Brandie M. Fowler.

      DATED this 11th day of April, 2008.

                                              BY THE COURT:

                                              s/ Thomas D. Thalken
                                              U.S. Magistrate Judge
